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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JANE E. O'BRIEN,
Plaintiff,

Vv.

WILMINGTON TRUST NATIONAL
ASSOCIATION, as Successor
Trustee to CITIBANK, N.A., as
Trustee for Holders of BEAR
STEARNS ALT-A TRUST 2006-6
MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2006-6,
Defendant.

C.A. No. 17-cv-11228-MLW

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MEMORANDUM AND ORDER

 

WOLF, D.J. Pebruary 5, 2021

I. BACKGROUND

This motion arises from an action brought by plaintiff Jane
E. O'Brien in June 2017 to enjoin foreclosure on her home, quiet
title to that home, and obtain damages for the intentional
infliction of emotional distress. See Verified Compl. (Dkt. No. 1-
1). On November 30, 2020, this court entered judgment for defendant
Wilmington Trust National Association after allowing its Motion
for Judgment on the Pleadings for the reasons explained in detail
in a Memorandum issued on the same date. See Nov. 30, 2020 Mem.
and Order (Dkt. No. 35). By that time, plaintiff had been living
in a multi-million-dollar home for almost ten years without making
mortgage payments and was approximately $1,700,000 in default on

the mortgage. Opp. to Second Motion for Extension of Time to File
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Notice of Appeal at 1 (Dkt. No. 41). The court also dissolved a
pre-removal state court preliminary injunction order, in part
because plaintiff was $248,000 in arrears on monthly payments she
had been ordered to make into escrow to remain living in the
property during the pendency of this case. See Second Mot. to
Dissolve Preliminary Injunction (Dkt. No. 34).

Pursuant to Federal Rule of Appellate Procedure 4 (a) (1) (A),
plaintiff was permitted to file a notice of appeal within 30 days
of the entry of the judgment. The deadline was, therefore, December
30, 2020. On that day, at 3:39 p.m., plaintiff filed her first
Motion for Extension of Time to File Notice of Appeal (Dkt. No.
37). As grounds, she stated:

[G]lood cause exists to permit this extension because:

(1) Plaintiff may obtain new appellate counsel to proceed

with an appeal, as opposed to continuing with trial counsel;

(2) Plaintiff may obtain funding to cure an existing default

in injunction arrears/payments in a relatively short period

of time; (3) Plaintiff will not seek a second or further
extension; (4) Plaintiff has already taken substantial steps
to determine whether to proceed in this action or proceed

extrajudicially but certain factors and conditions outside of
Plaintiff's control have not yet been decided or determined.

 

First Mot. Extend §6 ("First Motion") (Dkt. No. 37) (emphasis
added). The court allowed the motion before receiving a response
from defendant, and extended the deadline to appeal to January 27,
2021. See Dkt. No. 38.

On January 27, 2021, at 11:22 p.m., plaintiff filed her Final

Motion for Extension of Time to File Notice of Appeal ("Second
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Motion"). See Dkt. No. 39. She cited virtually identical reasons,
except that she no longer stated that she would not seek a further
extension, and she vaguely referenced "new information" rather
than "factors and conditions outside of [her] control." See Dkt.
No. 39 46.

As ordered, defendant responded to the Second Motion on
February 2, 2021. See Dkt. No. 41. Defendant argues that the Second
Motion should be denied because it did not include a supporting
affidavit; it was untimely; it does not show excusable neglect; it
does not show good cause, which is not the applicable standard in
any event; and plaintiff represented in her First Motion that she
would not request an additional extension.

For the reasons explained below, the court is denying the
Second Motion.

II. DISCUSSION

A. The Second Motion Does Not Comply with Local Rule 7.1

 

Plaintiff's Second Motion does not comply with the
requirements of Rule 7.1 of the Local Rules of the United States
District Court for the District of Massachusetts ("Local Rules").
Rule 7.1 provides:

A party filing a motion shall at the same time file a

memorandum of reasons, including citation of supporting

authorities, why the motion should be granted. Affidavits and

other documents setting forth or evidencing facts on which
the motion is based shall be filed with the motion.
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Local Rule 7.1(b)(1). Plaintiff did not file the required
supporting memorandum or an affidavit setting forth the facts she
alleges in the motion. The court could, therefore, deny this motion

for failure to comply with Rule 7.1. See Rissman Hendricks &

 

Oliverio, LLP v. MIV Therapeutics Inc., No. CV 11-10791-MLW, 2013

 

WL 12321564, at *1 (D. Mass. June 14, 2013) ("A district court may
deny a motion, without prejudice, for failure to comply with the

Local Rules."); Hasbro, Inv. v. Serafano, 168 F.R.D. 99, 101-02

 

(D. Mass 1996) (motion denied without prejudice because of failure
to consult prior to filing as required by Local Rule 7.1(A) (2));

United States v. Roberts, 978 F.2d 17, 20 (1st Cir. 1992) ("A

 

district court possess great leeway in the application and
enforcement of its local rules.") However, as discussed below, the
motion is unmeritorious in any event.
B. Legal Standard
"An unsuccessful litigant in a federal district court may
take an appeal, as a matter of right, from a final decision of the

district court." Gelboim v. Bank of Am. Corp., 574 U.S. 405, 407

 

(2015) (internal marks omitted). Appeals as of right are governed
by Federal Rule of Appellate Procedure 3, which provides that such
appeals "may be taken only by filing a notice of appeal with the
district court within the time allowed by Rule 4." Fed. R. App. P.
3(a). Rule 4(a) (1) (A) provides that the notice of appeal "must be

filed with the district clerk within 30 days after entry of the
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judgment or order appealed from." Fed. R. App. P. 4(a) (1) (A).
However, Rule 4 also provides that:

(A) The district court may extend the time to file a notice
of appeal if:

(i) a party so moves no later than 30 days after
the time prescribed by this Rule 4(a) expires;
and

(ii) regardless of whether its motion is filed

before or during the 30 days after the time
prescribed by this Rule 4(a) expires, that
party shows excusable neglect or good cause.

Fed. R. App. P. 4(a)(5) (A). Therefore, the relevant issues are

whether the Second Motion is timely, and whether plaintiff has
shown either good cause or excusable neglect.
C. Plaintiff's Motion is Timely Filed

After the court allowed plaintiff's First Motion, her

deadline to file a notice of appeal was January 27, 2021. See Dkt.

No. 38. On that day, plaintiff filed her Second Motion at 11:22

p.m. See Dkt. No. 39. Under Local Rule 5.4(d), a motion must be

filed prior to 6:00 p.m. to be considered timely filed that day.

Accordingly, the Second Motion was filed after the deadline to

appeal had passed. However, a motion to extend the deadline to

file a notice of appeal need not be filed by the appeal deadline.

Rather, it must be filed within 30 days of the expiration of the

original 30-day deadline. In this case, the order entered on

November 30, 2020. Therefore, the 30-day period expired on December
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30, and a motion to extend filed on or before January 29, 2021
would be timely. Accordingly, the Second Motion was timely filed.
D. Plaintiff Fails to Show Good Cause

Plaintiff argues that good cause exists, justifying another
extension. See Second Motion |6 (Dkt. No. 39). However, defendant
argues that where a party moves for an extension after the deadline
has passed, as plaintiff did here, only the "excusable neglect"
standard is applicable, erroneously relying on cases such as Lujan

v. National Wildlife Federation, 497 U.S. 871, 896 (1990), Rivera-

 

Almodovar v. Instituto Socioeconomico Comunitario, Inc., 730 F.3d

 

23, 26 (lst Cir. 2013), Moringlane-Ruiz v. Trujillo-Panisse, 232

 

F.Appx. 8, 9-10 (lst Cir. 2007), and Dimmitt v. Ockenfels, 407 F.

 

3d 21, 24 (1st Cir. 2005), which interpret Federal Rule of Civil
Procedure 6(b). Rule 6(b) distinguishes between motions for
extension filed before and after the original deadline. See Fed.
R. Civ. P. 6(b)(1)(B). By contrast, Federal Rule of Appellate
Procedure 4 provides that a party may seek an extension for
"excusable neglect or good cause" "regardless of whether its motion
is filed before or during the 30 days after the time prescribed by
this Rule 4(a) expires." Fed. R. App. P. 4(a) (5) (A) (ii) (emphasis

added). See also Virella-Nieves v. Briggs & Stratton Corp., 53

 

F.3d 451, 453 (1st Cir. 1995) (quoting Scarpa v. Murphy, 782 F.2d
300, 301 (lst Cir. 1986)) ("Rule 4(a)(5) ‘expressly recognizes

"good cause" as a basis for extension both before and after the
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expiration of the appeal time.'"). Accordingly, the court may allow
the Second Motion if plaintiff has shown either good cause or
excusable neglect.

As the First Circuit has written, "where there are no forces
beyond the control of the would-be appellant that prevent him from
taking timely steps to preserve his rights, 'good cause’ has no
applicability and an extension of the time for appealing can be
justified only by a showing of excusable neglect." Mirpuri, 212

F.3d at 630. See also Pontarelli v. Stone, 930 F.2d 104, 111 (1st

 

Cir. 1991) ("Where the need for an extension of time to file a
notice of appeal results entirely from neglect attributable to the
would-be appellant, as distinguished from forces beyond her
control, amended rule 4(a)(5) requires a showing of 'excusable
neglect.'"); Virella-Nieves, 53 F.3d at 453-54. Similarly, an
Advisory Committee Note to Rule 4 explains:
The good cause and excusable neglect standards have
‘different domains.'" (quoting Lorenzen v. Emps. Ret. Plan,
896 F.2d 228, 232 (7th Cir.1990)). .. . The excusable
neglect standard applies in situations in which there is
fault; in such situations, the need for an extension is
usually occasioned by something within the control of the
movant. The good cause standard applies in situations in which
there is no fault -- excusable or otherwise. In such
situations, the need for an extension is usually occasioned
by something that is not within the control of the movant.
Fed. R. App. P. 4 advisory committee's note.

In this case, plaintiff's sole alleged justifications for not

having filed a notice of appeal are that she "may obtain new
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appellate counsel," "may obtain funding to cure an existing default
in inunction arrears/payments," and "has already taken substantial
steps to determine whether to proceed in this action . . ." Second
Motion 96 (Dkt. No. 39). All these matters are within plaintiff's
control. Even if she was incapable of completing these tasks before
the deadline to file her notice of appeal, she provides no
explanation for why these tasks prevented her from filing such a
notice. Accordingly, she has not shown that she was prevented from
appealing by forces beyond her control. Therefore, she has not
shown good cause for her failure to do so.

E. Plaintiff Fails to Show Excusable Neglect

 

With regard to excusable neglect, the inquiry "is at bottom

an equitable one, taking account of all relevant circumstances

 

 

surrounding the party's omission." Pioneer Inv. Servs. Co. v.
Brunswick Assocs. Ltd. P'ship, 507 U.S. 380, 395 (1993). "These
include .. . the danger of prejudice to the debtor, the length of

the delay and its potential impact on judicial proceedings, the
reason for the delay, including whether it was within the
reasonable control of the movant, and whether the movant acted in
good faith." Id. Quoting the Eighth Circuit, the First Circuit

wrote in Hospital del Maestro v. National Labor Relations Board,

 

263 F.3d 173, 175 (1st Cir. 2001):

The four Pioneer factors do not carry equal weight; the
excuse given for the late filing must have the greatest
import. While prejudice, length of delay, and good faith
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might have more relevance in a closer case, the reason-

for-delay factor will always be critical to the

inquiry.... [A]t the end of the day, the focus must be

upon the nature of the neglect.

The analysis of a movant's reasons for delay is case-specific,
but "[m]ere ‘inadvertence, ignorance of the rules, or mistakes
construing the rules do not usually constitute "excusable"
neglect.'" Mirpuri, 212 F.3d at 631 (quoting Pioneer, 507 U.S. at
392). The First Circuit has sometimes required "unique and

extraordinary circumstances" for a finding of excusable neglect.

Graphic Commc'ns Int'l Union, Local 12-N v. Quebecor Printing

 

Providence, Inc., 270 F.3d 1, 4 (lst Cir. 2001). Defendant cites
this standard in its opposition to the Second Motion. See Dkt. No.
41 at 7. However, the Supreme Court's decision in Pioneer appears
to have relaxed that standard and made it a more open-ended

equitable inquiry. See Graphic Commc'ns Int'l Union, 270 F.3d at

 

5 ("(T]he Pioneer standard is more forgiving than the standard in
our prior case law.") Nonetheless, "there still must be a
satisfactory explanation for [a] late filing." Id.

As discussed earlier with regard to good cause, the reasons
plaintiff provides for the requested extension have been within
her control. She offers no explanation as to why she could not
have filed a notice of appeal while she obtains appellate counsel,
seeks funding, and considers how she wishes to proceed. Moreover,

plaintiff represented in the First Motion that she "[would] not
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seek a second or further extension." See First Motion 6 (Dkt No.
37). She does not explain in the Second Motion why this
representation was not reliable. Rather, she only repeats
essentially the same reasons as she did in the First Motion without
providing any explanation as to why the first extension was
insufficient.

These considerations undermine any claim that plaintiff has
acted in good faith, another Pioneer factor. See Pioneer, 507 U.S.
at 395. Plaintiff has a long history of missing deadlines and
failing to comply with court orders in this case. See Nov. 30,
2020 Mem. and Order at 3-4 (Dkt. No. 35). For example, she failed
to timely oppose defendant's motion for judgment on the pleadings,
then belatedly moved for an extension of time without the
certificate of consultation required by Local Rule 7.1{(a) (2). See
Dkt. No. 13. Defendant opposed that motion for an extension, see
Dkt. No. 14, and plaintiff failed to file a timely reply. When the
court set a new deadline for plaintiff to file her opposition to
the motion for judgment on the pleadings, see Dkt. No. 18, she
missed the deadline again. See Dkt. No. 21. In addition to these
repeated failures to meet deadlines, plaintiff violated the
preliminary injunction issued by the state court by failing to pay
money into escrow, as discussed earlier. In this context, the court
finds that plaintiff's Second Motion for an extension for

unmeritorious reasons is not made in good faith.

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The length of delay favors plaintiff, as she only seeks to
delay the appeal by two weeks. See Second Motion at 2 (Dkt. No.
39). In addition, she will be harmed to the extent that she will
lose her opportunity to appeal. See Fed. R. App. P. 3(a) (appeals
may be taken only by filing timely notice of appeal with district
court); Fed. R. App. P. 4(a)(5) (A) (allowing only district court
to extend time to file notice of appeal); Fed. R. App. P. 26(b) (1)
(prohibiting courts from extending time to file notice of appeal
except as authorized by Rule 4). However, this is a self-inflicted
wound rather than unfair prejudice.

Moreover, defendant will be prejudiced if this case is further
delayed. It has long been deprived of its property while plaintiff
has enjoyed living in it for free, and there is not a proper
justification for perpetuating that deprivation.

In essence, it would be inequitable to allow the Second Motion
to extend in light of plaintiff's inadequate excuses, her prior
assurance that she would not file another motion to extend the
deadline to appeal, her long history of failure to obey court
orders and missed deadlines, and the fact that she has drawn out
this litigation for over a decade, allowing her to live ina muiti-
million-dollar house without paying for it. Therefore, the Second

Motion is being denied.

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III. ORDER
In view of the foregoing, plaintiff's Final Motion for
Extension of Time to File Notice of Appeal (Dkt. No. 39) is hereby

DENIED.

UNITED Gath DISTRICT max

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